     Case 3:17-cv-01154-LAB-AGS Document 263 Filed 07/22/20 PageID.7439 Page 1 of 2



 1    Joseph T. Kutyla, Esq.
      Law Office of Joseph T. Kutyla
 2    10620 Treena Street, #230
      San Diego, CA 92131
 3    jtklaw@outlook.com
 4    Attorneys for Defendant Dale Weidenthaler
 5
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
10
      MICHELLE MORIARTY, an individual, )             No. 17cv1154-LAB(AGS)
11    as Successor in Interest to the Estate of )
      HERON MORIARTY and as Guardian Ad )             DEFENDANT DALE
12    Litem to ALEXANDRIA MORIARTY, )                 WEIDENTHALER’S OBJECTION TO
      ELIJAH MORIARTY, and ETERNITY )                 PLAINTIFF’S UNTIMELY PRE TRIAL
13    MORIARTY,                                 )     DISCLOSURE
                                                )
14                Plaintiffs,                   )
                                                )
15          v.                                  )     Dept.: 14A
                                                )
16    COUNTY OF SAN DIEGO, DR.                  )     Trial Date: None
      ALFRED JOSHUA, individually, and          )
17    DOES 1 through 10, Inclusive,             )
                                                )
18                Defendants.                   )
                                                )
19
20          DEFENDANT DALE WEIDENTHALER hereby objects to the “Supplemental”
21    Pre Trial Disclosure filed by Plaintiff’s Alexandria Moriarty, Elijah Moriarty, Michelle
22    Moriarty (Doc. 262) upon the grounds that the filing was made without leave of court, in
23    violation of the Scheduling Order (Doc. 119) and the late disclosure prejudice the rights
24    of defendant Weidenthaler.
25
26    DATED: July 22, 2020
27                                     By: s/ JOSEPH T. KUTYLA
                                       Attorney for Defendant DALE WEIDENTHALER
28                                     E-mail: jtklaw@outlook.com

                                                                             17cv1154-LAB(AGS)
     Case 3:17-cv-01154-LAB-AGS Document 263 Filed 07/22/20 PageID.7440 Page 2 of 2



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             -2-
                                                                     17cv1154-LAB(AGS)
